EXH|B|T #1

Case 1:19-cV-00015-WCG Filed 01/02/19 Page 1 of 27 Docum`ent 1-1

Brian G.LHe_ye_r
Greenvl'le._ Wl- …44-865
s t D.O.B. M

September 18, 2017

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-_. _`.P`

Experian
P.O. Box 2002
Alien. TX 75013

To Whorn lt May Conce'rn:

Please send me in writing ALL_lI;lf_QRMAHQ,N in my consumer file at Experian as ot`
the date that you receive this letter regardiess of how or where it is stored. Pursuant to 15
U.S. Code 1681 g(a)( l). mask the first tive digits of my Social Seeurity Number in all
writings you return to me.

In addition, I am requesting the following

i. Pursuant to 15 U.S. 1681 g(a)(Z), all sources of information in my consumer file at
prcrian.

2. Pursuant to 15 U.S. ioSig(a)(fi)(A). the identification of each person that procured a
consumer report on me from Experian.

3. Pursuant to 15 U.S. ioStg(a)(fi)(B), the name, trade namer address. and telephone
number of each person identified under 15 U.S. 1681 g(a)(3)(A).

4. Pursuant to 15 U.S. 1681g(a)(4). the dates, original payees, and amounts of any checks
in my consumer file at Experian used to adversely characterize me

5. Pursuant to 15 U.S. ioSig(a)(S), a record ol` all inquiries received by F.xperian in the
year preceding the receipt of this request that identified me in connection With a credit or
insurance transaction that l did not initiate

'l`his is a request t`or a full tile disclosure to include ali obsolete and archived information
as permitted by the Fair Credit Reporting Act. lt is my first full tile-disclosure request for
this calendar year from Experian.

Thank you in advance for promptly satisfying this request

'|`hank You.

Brian G. Heyer`

Attached: J(§t])§: of m§/ Sociai Securit§'%(jard & Drivet‘s license is attached
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Sent:: §§ ?tY ic Ci;l§ilv¥ci§l?@ A@titi@?S/‘YS Mge 2 Of 27 DOCUm@m 1'1

Return Receipt Requested

Scans of my driver’s license and my social security card
to accompany my ietter dated and mailed Sept. 18, 2017,
U.S.P.S. Certified mail # 7017 0660 0000 8958 6087

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Case 1:19-cV-00015-WCG Filed 01/02/19 Page 3 of 27 Document 1-1

Brian G. Heyer
Greenville, Wl 54942-8695
S. S. #M | D.O.B. mm

September 18. 2017
TransUnion
P.O. Box 2000
Chester, i’A 19022

 

'l`o Whom lt May Conccrn:

Please send me in writing ALL lNFORMATiQN in my consumer tile at Fi`ransUnion as ot` the
date that you receive this letter rcgardiess ot` how or where it is stored Pursuant to 15 U.S. Codc
1681_¢_.;(21)(1}, mask the first live digits of my Soeial Security Number in ali writings you return to
mc.

In addition. l am requesting the t`oliowing:

1. Pursuant to 15 U.S. 1681g(a)(2_)r all sources oi`int`ormation in my consumer tiie at
TransUnion.

2. Pursuant to 15 U.S. 1681g( a)(3 )(A). the identification of each person that procured a consumer
report on me from TransUnion`,

3. Pursuant to 15 U.S. i681g(a)(3)(i3). the name, trade name. address. and telephone number of
each person identified under 15 U.S. loSlg(a)(S)(A}.

4. l’ursuant to 15 U.S. 1681g(a)(4). the datcs, original payecs, and amounts ot` any checks in my
consumer file at 'l`ransUnion used to adversely characterize me.

5. Pursuant to 15 U.S. 1681g(a)(5). a record of all inquiries received by TransUnion in the year
preceding the receipt of this request that identified me in connection with a credit or insurance
transaction that l did not initiate.

This is a request for a full tile disclosure to include all obsolete and archived information as
permitted by the F air Credit Reporting Act. it is my first full tile disclosure request t`or this
calendar year from 'l`ransUnion.

'l`hank you in advance for promptly satisfying this request.
Regards,
5-»’" ‘& a
Brian G. lleyer
Attached: Copy ol` my Social Sccurity Card & Drivers l.iccnse is attached
Sent: USPS Certified Maii # ?Oi'? 0660 0000 8958 6070

Rcturn Rcceipt Requeste'd
Case 1:19-cV-00015-WCG Filed 01/02/19 Page 4 of 27 Document 1-1

Scans of my driver’s iicense and my social security card
to accompany my letter dated and mailed Sept. 18, 2017,
U.S.P.S. Certified mail # 7017 0660 0000 8958 6070

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Case 1:19-cV-00015-WCG Filed 01/02/19 Page 5 of 27 Document 1-1

Brian G. Heyer

ore¢avine, wi 549942_65

   

s. ss 4 . [ D.o.s. M
Septcmber 18, 2017
Equifax
l’.O. Box 740256
Atlanta, GA 30374

To Whorn lt May Concern:

'Please send me in writing ALL_[l\_lEQ_KMAT_iQI;J in my consumer file at Equifax as of the
date that you receive this letter regardless of how or where it is stored Pursuant to 15
U.S. Code 1681 g(a)(l), mask the first five digits of my Social Seeurity Number in all
writings you return to mc.

in additi'oni l am requesting the following:

1. Pursuant to 15 U.S. 168 ig(a)(Z). ail sources of` information in my consumer file at
Equif`ax.
2, Pursuant to 15 U.S 168ig(a)(3)(A),'the identification of each person that procured a

consumer report on me from Equifax.

3. Pursuant to 15 U.S. 1681 g(a)(?))(B), the name, trade name, address, and telephone
number of each person identified under 15 U.S. 1681g(a)(3)(A).

4. Pursuant to 15 U.S. 168 t g(a)(¢l). the dates, original payees, and amounts of` any checks
in my consumer file at Equifax used to adversely characterize me

5. Pursuant to 15 U.S. 1681g(a)(5). a record of ali inquiries received by Equifax in the
year preceding the receipt of this request that identified me in connection with a credit or
insurance transaction that I did not initiate

'l`his is a request for a f`ull iiie disclosure to include ali obsolete and archived information
as permitted by the hair Credit Reporting Act. ft is my first full file disclosure request f`or
this calendar year from Equifax.

Thank you in advance t`or promptly satisfying this request

'i`hank You,

z»_-,_J h )
rian G. Heyer

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to accompany my letter dated and mailed Sept. 18, 2017,
U.S.P.S. Certified mail # 7017 0660 0000 8958 6063

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BRIAN G HE¥ER

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Case 1:19-cV-00015-WCG Filed 01/02/19 Page 9 of 27 Document 1-1

EXH|B|T #2

Case 1:19-cV-00015-WCG Filed 01/02/19 Page 10 of 27 Document 1-1

 

 

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Belivared:
CRUM LYNNE, PA 19§22 on
November §§ 2817 at €2:33 pm

 

Expecte¢i Del€verg vy:
Mon.§ay, November 6, 291? by
8209;3§1§

 

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De|iver\eei:
CRUM E_YNNE, PA 19522 on
Ociober 13, 291? 3§12:55 pm

 

Expecfe€i l)e|?very cmr

On Time:

Friday, G¢:tebet' 13, 291? by
B:G imm

 

?€}’¥?656€1€§€¥€}&39536§ §§

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EXH|B|T #3

Case 1:19-cV-00015-WCG Filed 01/02/19 Page 21 of 27 Document 1-1

Brian_Gregory‘ileyer_

   

Greenville,Wi 54942~8695 _
S.SM l D.O.B.M
_ Nov.Z, 2017
Transljnion '
P.O.Box 2000
Chester, PA 19016~2000

i l e s Pursuantt01 .S 168 a

To whom it may coneern:

lam writing in regard to your response to my requests for my Full Consumer Fiz'e Disclvsure. ivly
request was very specific, and I provided the exact sections of the FCRA which require you to
provide it to me (see copy of my original letter attached). Your reply was non responsive to my
request because you did not provide the Fuil Consumer Fi£e Dc’sc{osure es requested

.i will once again state that l am requesting my Fu£i Consumer File biselosure pursuant to 15 U,S.C.
§ 3681 g(a)(l) to include ali other such information listed specifically in my initial letter. No response
by you other than providing tile Full Consumer Ffle Disciosure as required by the FCRA will be
appropriate or accepted by me. _

My initial letter was roy first request for the Ful£ Consumer Fiie Disciosure Within the past 12
months, and there is no provision in the PCRA Whicii allows you to charge me for it. .i expect your
full compliance with the law and for me to receive my Full Co:tsumer Fr‘£e Disclosure in a timely
manner as required by tire FCRA. Your failure to do so will result in me initiating legal action against
you to force compliance under the law. Your timely response is appreciated Act accordingly

Onee again as was provided with my prior requests, I am enclosing a copy ot` my Wiseonsin
REAL ID Act~cornpliant Driver’s Liee'nse and Sociai Security Card for identification purposes I am
also enclosng s color copy oftwo recent utility bilis.

You are instructed to mask the first five digits of my Social Security Nurnbcr in all Writings you
return to me. '

Thank you in advance for promptly satisfying this request

Regerds,

../"'”y . ‘_% ny

Brian Gregory Heyer "`

A_ggcheg: Copies of my Social Security Card, my Wisconsin REAL ID Act»cornpliant Driver’s
License, two utility bilis, and my initial & second requests dated Sept 18 and Oct lO, respectively are

attached
Sent via U.S.P.S_. Cer_tified Mail # 7_(}_17 0660 0000 8958 61?.4, Retum Receipt Reqoested

Case 1:19-cV-00015-WCG Filed 01/02/19 Page 22 of 27 Document 1-1

Scans of my driver’s license and my social security card
to accompany my letter dated and mailed Nov. 2, 201 ?,
U.S.P.S. Oertified mail # 7017 0660 0000 8958 6124

 
 

 

This gold star indicates
that this state-issued
identlflcation has
complied With the
federal REAL iD Act.

 

free 71 .:N‘

 

 

 

 

 

 

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W-___..___|

   

 

 
  
    
  

 

 

 
   

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10131120_§_7
ACH pymt Tuesday, Oct. 34

 

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Contact Us Auytime

 

    

Page 1 of

 

 

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Actual Balance information
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........,`......$98.71

Currenl Chargee 10110:1?................

After paying your Toiel Amounl Due of $158.00
your Budget Settlement Baiance will be $186.960R

New Aciual Baiance $28‘96{:11

 

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Meler Numeer ..................... .......... NZT411351
Aolua| Reading on 10/10!1?..,...................,3365
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Current Electricity Charges

Re.sideniial Eiecirie Service - RGi 29 Deys

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Euergy (472 i<Wh x $.13“£110§30!\01) ..... _. .......................................................... $6‘¥.88

Fuel Cosi Adjueimenl (4?2 lei x $.002260~!!<Wh}......,.,..,......,.......,...........,... $1.07os.
Sublotal Eieclricity Charges $78.34
$3.80

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Tolal Eleotricity Cherges $82.14

 

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Gas

Meter Number ..... , ................................ 1711226
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Current Gas Cherges

   

Res`ideniiai Ges Serv_lco - RG'% (WEGO) 29 Doys

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Sui)lciel Gas Charpes $15.?8

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PGA (15 thermo x $.296603-Ilherms).........-....l.........

 

Messagee

ill important Payment Dptlon lnformetion _`¥hie is your first bill in your new Budget Biiiing yeer. Your monthly budget amount ls $ 158 .

Cusiomer Service: 1~800-242»9137

Web Site; www.we»onergies.com

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Case 1:19-cV-00015-WCG Filed 01/02/19 Page 26 of 27 Document 1-1

Brian G. lieer

  
  

fiteern#_ille_ Wi 54942-8695
S. gm 1 t).O,B. "
Scptemt)cr 18. 2017
'i`ranSUnion
P.O. Bt)x 2000
Chnstcr. i"A 19022

 

’i’o Who_m it May Concem:

Pl€ase send me in writing AL¢L INF§!§§MA! !(}N in my consumer file at 'i`ransUnion as ofthe
date that you receive thin letter regardless of how or where it is Storcd. Pursutmt to 15 U.S. Codc
168 t g{a)( l ), mask thc i`n‘st five digits ot` my Sncial Sccurity Nnmiser in ali writings you return to
mc.

in additiong t am requesting the tizilowing:

t. Pursuant to 15 U.S. 168} g(a)(?). afl Snurces <)fint`ortnation in my consumer file at
"l`ransUnion.

2. i’ursuant to 15 U.S. 168¥ g(a)(S)(A), the identification ofcach person that procured a consumer
report On me from 'I`ransUnion,

3. Pursuant to 15 U.S. ié£ig(a)(B)(B). the name. trade name. address. and telephone number of
each person identified under 15 U.S. in$ig,(tt)(.?)(A),

4. Pursuant to ii U.S. 1681§_2,(3)(4).61<: datcs. originai payccs. and amounts ofany checks in my
consumer file at 'i`ransUnion used to adversely characterize me.

5j Purstiant to ES U.S. 16819,(3)(5). a record ofail inquiries received by Transl)nion in the year
preceding the receipt Ot`this request tith identified me in connection with ti creditor insurance
transaction that § did not initiate.

'i`his is 2`1_ request for a full tile disclo$ure to incitide ail obsoiete and archived information as
permitted by the iiair Credit Reporting Act. ft is my first full tile disciosure request for this
calendar year item 'l`rtmsUnion.

’l"hank you in advance l`or promptiy satisfying this request

Regards.
EW` & »

Brian G, }icycr

 

Attachg_q: Copy of my Sociai Sccurity Card & I)rivcrs license is attached
Sent: USPS Ceztit‘\ed Maii ft 7017 0660 0000 8958 607()

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